711 F.2d 121
    NAACP, et al., Plaintiffs-Appellants,v.STATE OF CALIFORNIA, et al., Defendants-Appellees.
    No. 81-4216.
    United States Court of Appeals,Ninth Circuit.
    Argued April 12, 1982.Resubmitted May 31, 1983.Decided May 31, 1983.
    
      Lloyd Harmon, Jr., Deputy County Counsel, Redwood City, Cal., Gerald A. Sherwin, George H. Cunningham, Deputy County Counsel, Stockton, Cal., Geoffrey L. Graybill, Asst. Atty. Gen., Sacramento, Cal., for defendants-appellees.
      Eva Paterson, San Francisco, Cal., for plaintiffs-appellants.
      Appeal from the United States District Court for the Eastern District of California Milton L. Schwartz, District Judge, Presiding.
      Before GOODWIN, WALLACE, and FLETCHER, Circuit Judges.
    
    
      1
      Plaintiff-Appellants' petition for rehearing is denied.   Plaintiff-Appellants' petition for "Publication of Opinion" is granted to the extent of the publication of this order.   The below decision which was filed May 31, 1983 is hereby ordered published.
    
    
      2
      Appellants appeal the dismissal of their suit for declaratory and injunctive relief.   Appellants allege that Proposition I, an amendment to the California constitution that limits the use of busing to remedy segregation resulting from de jure acts, violates the equal protection clause of the fourteenth amendment.   Appellants sought a declaration that Proposition I is unconstitutional and an order enjoining the defendants state officials and state courts from implementing or enforcing its provisions.
    
    
      3
      We are foreclosed by Crawford v. Los Angeles Board of Education, --- U.S. ----, 102 S.Ct. 3211, 73 L.Ed.2d 948 (1982), from granting the relief requested.   Hence, we affirm the dismissal solely on that ground.
    
    